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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF GEORGIA
                                     SAVANNAH DIVISION

 ALTAMAHA RIVERKEEPER and ONE
 HUNDRED MILES

        Plaintiffs,

        v.                                           Docket No. 4:18-cv-00251- JRH -JEG

 THE UNITED STATES ARMY CORPS OF
 ENGINEERS et al.,

        Defendants.


  AMENDED MOTION FOR PRELIMINARY INJUNCTION AND/OR TEMPORARY
                      RESTRAINING ORDER


       Plaintiffs filed a Motion for Preliminary Injunction on October 31, 2018, ECF No. 5, the

same day they filed the Complaint in this matter. Defendants filed a Response in Opposition to

Plaintiffs’ Motion on November 19, ECF No. 13, and Plaintiffs filed a Reply on November 20,

ECF No. 17. Plaintiffs also filed a Motion for Expedited Consideration of their Preliminary

Injunction Motion, ECF No. 15, and Proposed Intervenors filed a Motion for Hearing on

Plaintiffs’ Motion, ECF No. 19. Because construction has begun and is continuing on the project

Plaintiffs seek to enjoin, Plaintiffs now amend their Motion for Preliminary Injunction to

alternatively seek a Temporary Restraining Order. A photograph showing the ongoing

construction is included below. Because the standards for preliminary relief in either form are the

same, see Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225 (11th Cir. 2005), Plaintiffs

incorporate all facts and arguments set forth in their original Motion for Preliminary Injunction,

ECF No. 5.




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           Photograph taken November 29, 2018 by James Holland showing ongoing construction


Respectfully submitted this 30th day of November, 2018.

                                                        SOUTHERN ENVIRONMENTAL
                                                        LAW CENTER

                                                        /s/ William W. Sapp
                                                        William W. Sapp
                                                        Georgia Bar No. 626435
                                                        Megan Hinkle Huynh
                                                        Georgia Bar No. 877345
                                                        Admitted pro hac vice
                                                        Bob Sherrier
                                                        Georgia Bar No. 979890
                                                        Pro hac vice motion forthcoming
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                               CERTIFICATE OF SERVICE

       I certify that on November 30, 2018, I electronically filed the foregoing Amended Motion

for Preliminary Injunction and/or Temporary Restraining Order with the Clerk of Court using

the CM/ECF system.


                                               /s/ William W. Sapp




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